Case 18-68430-jwc       Doc 33 Filed
                        UNITED STATES12/09/19 Entered 12/09/19
                                         BANKRUPTCY     COURT10:19:23                 Desc Main
                               Document Page 1 of 3
                         NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                             )   CHAPTER 13
 MARY ELLEN BOLNIK                                  )   CASE NUMBER A18-68430-JWC
                                                    )
    DEBTOR                                          )



                                    MOTION TO DISMISS
     COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case, and
 respectfully shows the Court as follows:

                                              1.

    Debtor filed a petition for relief under Chapter 13 of Title 11.
                                               2.

     Debtor's Plan will exceed sixty months by six (6) months in violation of 11 U.S.C. 1322(d)
 (2)(C) and 11 U.S.C. 1307(c).


    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtor
 proposes a modification to meet the requirements of the confirmed plan that ensures that the
 plan is completed within the allowable time.

 This the 9th day of December, 2019.


 /s/________________________________________
   Julie M. Anania
   Attorney for the Chapter 13 Trustee
   State Bar No. 477064
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
Case 18-68430-jwc       Doc 33     Filed 12/09/19 Entered 12/09/19 10:19:23             Desc Main
                                   Document Page 2 of 3


                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                           )    CHAPTER 13
 MARY ELLEN BOLNIK                                )    CASE NUMBER A18-68430-JWC
                                                  )
    DEBTOR                                        )




                 NOTICE OF HEARING ON MOTION TO DISMISS CASE

 PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Dismiss and related
 exhibits with the Court seeking an Order of Dismissal.

 PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on January 14, 2020 at
 1:45 PM in Courtroom 1203, Richard Russell Building, 75 Ted Turner Drive, S.W.,
 Atlanta, GA. 30303.

 Failure to appear at the hearing or failure to resolve the matter prior to the hearing may result in
 the dismissal of your case. You should read this motion carefully and discuss it with your
 attorney, if you have one in your bankruptcy case. (If you do not have an attorney, you may
 wish to consult one.) If you do not want the Court to grant the dismissal of your case, you
 and/or your attorney must attend the hearing unless you have settled the matter prior to the
 hearing.


 This the 9th day of December, 2019.


 /s/________________________________________
   Julie M. Anania
   Attorney for the Chapter 13 Trustee
   State Bar No. 477064
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
Case 18-68430-jwc       Doc 33    Filed 12/09/19 Entered 12/09/19 10:19:23             Desc Main
                                   Document Page
                                 CERTIFICATE        3 of 3
                                                OF SERVICE
Case No: A18-68430-JWC

I certify that on this day I caused a copy of this Chapter 13 Trustee's Motion to Dismiss to be
served via United Staes First Class Mail with adequate postage prepaid on the following parties
at the address shown for each:




MARY ELLEN BOLNIK
2932 HUNTING WOOD WALK
DULUTH, GA 30096



I further certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's
Motion to Dismiss using the Bankruptcy Court’s Electronic Case Filing program, which sends
a notice of this document and an accompanying link to this document to the following parties
who have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):

SLIPAKOFF & SLOMKA, PC




This the 9th day of December, 2019.


 /s/____________________________________
   Julie M. Anania
   Attorney for the Chapter 13 Trustee
   State Bar No. 477064
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
